Case 9:20-md-02924-RLR Document 2533 Entered on FLSD Docket 01/08/2021 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
   IN RE: ZANTAC (RANITIDINE)                                                           MDL NO 2924
   PRODUCTS LIABILITY                                                                    20-MD-2924
   LITIGATION
                                                             JUDGE ROBIN L ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES
                        PLAINTIFFS’ DISCLOSURE OF CANCER TYPES

           Pursuant to Pretrial Order No. 30 [DE # 875], Plaintiffs’ Leadership discloses the following

   types of cancer for which Plaintiffs’ Leadership intends to provide expert reports to proceed to the

   general causation Daubert hearing in the MDL: (i) bladder; (ii) breast; (iii) colorectal/intestinal;

   (iv) esophageal; (v) gastric; (vi) kidney; (vii) liver; (viii) lung; (ix) pancreatic; and (x) prostate.

   Plaintiffs reserve the right to amend this disclosure.

           DATED: January 8, 2021.
                                        Respectfully submitted,

   /s/ Tracy A. Finken                                By: /s/ Robert C. Gilbert
   Tracy A. Finken                                    Robert C. Gilbert, FBN 561861
   Email: tfinken@anapolweiss.com                     Email: gilbert@kolawyers.com
   ANAPOL WEISS                                       KOPELOWITZ OSTROW FERGUSON
   One Logan Square                                   WEISELBERG GILBERT
   130 North 18th Street, Suite 1600                  2800 Ponce de Leon Boulevard, Suite 1100
   Philadelphia, PA 19103                             Coral Gables, FL 33134
   Tel: (215) 735-1130                                Tel: (305) 384-7270


   /s/ Michael L. McGlamry                            /s/ Adam Pulaski
   Michael L. McGlamry                                Adam Pulaski
   Email: efile@pmkm.com                              Email: adam@pulaskilawfirm.com
   POPE McGLAMRY, P.C.                                PULASKI KHERKHER, PLLC
   3391 Peachtree Road NE, Suite 300                  2925 Richmond Avenue, Suite 1725
   Atlanta, GA 30326                                  Houston, TX 77098
   Tel: (404) 523-7706                                Tel: (713) 664-4555


                                       Plaintiffs’ Co-Lead Counsel
Case 9:20-md-02924-RLR Document 2533 Entered on FLSD Docket 01/08/2021 Page 2 of 5




   Rosemarie R. Bogden                       Mark J. Dearman, FBN 0982407
   Email: Rosemarie.bogdan@1800law1010.com   Email: mdearman@rgrdlaw.com
   MARTIN, HARDING & MAZZOTTI                ROBBINS GELLER RUDMAN & DOWD
   1222 Troy-Schenectady Road                120 East Palmetto Park Road, Suite 500
   Niskayuna, NY 12309                       Boca Raton, FL 33432
   Tel: (518) 862-1200                       Tel: (561) 750-3000


   Elizabeth A. Fegan                        Marlene J. Goldenberg
   Email: beth@feganscott.com                Email: mjgoldenberg@goldenberglaw.com
   FEGAN SCOTT, LLC                          GOLDENBERG LAW, PLLC
   1456 Sycamore Rd.                         800 LaSalle Avenue, Suite 2150
   Yorkville, IL 60560                       Minneapolis, MN 55402
   Tel: (312) 741-1019                       Tel: (855) 333-4662

   Ashley Keller                             Frederick S. Longer
   Email: ack@kellerlenkner.com              Email: flonger@lfsblaw.com
   KELLER | LENKNER                          LEVIN SEDRAN & BERMAN
   150 N. Riverside Plaza, Suite 4270        510 Walnut Street, Suite 500
   Chicago, IL 60606                         Philadelphia, PA 19106
   Tel: (312) 741-5222                       Tel: (215) 592-1500


   Roopal P. Luhana                          Francisco R. Maderal, FBN 0041481
   Email: luhana@chaffinluhana.com           Email: frank@colson.com
   CHAFFIN LUHANA LLP                        COLSON HICKS EIDSON
   600 Third Avenue, 12th Floor              255 Alhambra Circle, Penthouse
   New York, NY 10016                        Coral Gables, FL 33134
   Tel: (888) 480-1123                       Tel: (305) 476-7400


   Ricardo M. Martinez-Cid, FBN 383988       Lauren S. Miller
   Email: RMartinez-Cid@Podhurst.com         Email: lmiller@corywatson.com
   PODHURST ORSECK, P.A.                     CORY WATSON, P.C.
   SunTrust International Center             2131 Magnolia Ave S
   One S.E. 3rd Avenue, Suite 3200           Birmingham, AL 35205
   Miami, FL 33130                           Tel: (205) 271-7168
   Tel: (305) 358-2800




                                             2
Case 9:20-md-02924-RLR Document 2533 Entered on FLSD Docket 01/08/2021 Page 3 of 5




   Melanie H. Muhlstock                         Daniel A. Nigh, FBN 30905
   Email: mmuhlstock@yourlawyer.com             Email: dnigh@levinlaw.com
   PARKER WAICHMAN LLP                          LEVIN PAPANTONIO THOMAS
   9 Evelyn Road                                MITCHELL RAFFERTY & PROCTOR, P.A.
   Port Washington, NY 11050                    316 South Baylen Street, Suite 600
   Tel: (516) 723-4629                          Pensacola, FL 32502
                                                Tel: (888) 435-7001


   Carmen S. Scott                              Mikal C. Watts
   Email: cscott@motleyrice.com                 Email: mcwatts@wattsguerra.com
   MOTLEY RICE LLC                              WATTS GUERRA LLP
   28 Bridgeside Blvd.                          4 Dominion Drive
   Mount Pleasant, SC 29464                     Building 3, Suite 100
   Tel: (843) 216-9160                          San Antonio, TX 78257
                                                Tel: (800) 294-0055

   Sarah N. Westcot, FBN 1018272                Conlee S. Whiteley
   Email: swestcot@bursor.com                   Email: c.whiteley@kanner-law.com
   BURSOR & FISHER, P.A.                        KANNER & WHITELEY, L.L.C.
   701 Brickell Ave., Suite 1420                701 Camp Street
   Miami, FL 33131-2800                         New Orleans, LA 70130
   Tel: (305) 330-5512                          Tel: (504) 524-5777


   Frank Woodson
   Email: Frank.Woodson@BeasleyAllen.com
   BEASLEY ALLEN LAW FIRM
   234 Commerce St
   Montgomery, AL 36103
   Tel: (334) 269-2343


                                   Plaintiffs’ Steering Committee
                        Plaintiffs’ Law and Briefing Committee Co-Chairs
                                     Plaintiffs’ Liaison Counsel

   Paige Boldt                                  Je Yon Jung
   Email: pboldt@wattsguerra.com                Email: JJung@maylightfootlaw.com
   WATTS GUERRA LLP                             MAY LIGHTFOOT PLLC
   1815 Windsong Circle                         2579 N. Avalon Avenue
   Keller, TX 76248                             Orange, CA 92867
   Tel: (210) 447-1534                          Tel: (202) 506-3591




                                               3
Case 9:20-md-02924-RLR Document 2533 Entered on FLSD Docket 01/08/2021 Page 4 of 5




   Adam W. Krause                              Nicola Larmond-Harvey, FBN 0105312
   Email: adam@krauseandkinsman.com            Email: nicola@saunderslawyers.com
   KRAUSE AND KINSMAN, LLC                     SAUNDERS & WALKER, P.A.
   4717 Grand Avenue, Suite 300                3491 Gandy Boulevard North, Suite 200
   Kansas City, MO 64112                       Pinellas Park, FL 33781
   Tel: (816) 760-2700                         Tel: (727) 579-4500

   Bradford B. Lear
   Email: Lear@learwerts.com
   LEAR WERTS LLP
   103 Ripley Street
   Columbia, MO 65203
   Tel: (573) 875-1992


                         Plaintiffs’ Leadership Development Committee




                                              4
Case 9:20-md-02924-RLR Document 2533 Entered on FLSD Docket 01/08/2021 Page 5 of 5




                                 CERTIFICATE OF SERVICE

          I hereby certify that on January 8, 2021, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                               /s/ Robert C. Gilbert
                                                               Robert C. Gilbert




                                                   5
